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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

KACIE KRAUSE and MARCUS HARVEY,                       )
Individually and on Behalf of KH, a minor,            )
                                                      )
                       Plaintiffs,                    )
                                                      )
                       v.                             )       2:13-cv-00345-PPS-APR
                                                      )
KEITH M. RAMSEY, M.D., P.C., et al.,                  )
                                                      )
                       Defendants.                    )


                                             ORDER

       Plaintiffs filed their personal injury complaint in state court against several healthcare

provider individuals and entities. The United States Attorney General removed the case to

federal court because some of the defendants were acting within the scope of their office or

employment as deemed Public Health Service employees, so the United States stepped into the

place of those defendants. (Docket Entry 2.) No counsel for any defendant appeared in federal

court other than counsel for the United States. The United States and the plaintiffs filed a joint

Stipulation of Dismissal and Joint Motion to Remand (DE 20) on March 14, 2014, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii). The parties stipulated to dismiss defendant United States from the

case, without prejudice. With the United States dismissed from the case, there is no longer a

basis for federal jurisdiction, and the principal of comity recommends that state courts adjudicate

state law.

       For the foregoing reasons, Plaintiffs’ claims against defendant United States of America

are therefore DISMISSED WITHOUT PREJUDICE (DE 20), with each party to bear their

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own attorneys’ fees, costs, and expenses. This case against the remaining defendants is now

REMANDED to Lake Superior Court. (DE 20.)

       SO ORDERED.

       ENTERED: March 17, 2014

                                                    /s/ Philip P. Simon_______
                                                    CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT
 
